° Case 2-90-cv-005MBRIM-SCR Document 639 Filed Briss Page 1 of 4
DEC 11 1995
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RK, U.S. DISTRICT COURT
BY
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8 IN THE UNITED STATES DISTRICT COURT
9 FOR THE EASTERN DISTRICT OF CALIFORNIA
10 || RALPH COLEMAN, et al.,
" Plaintiffs, No. CIV S-90-0520 LKK JFM P
le vs.
'3|!| DETE WILSON, et al., ORDER APPOINTING SPECIAL
14 Defendants. MASTER
15 /
16 By order filed September 13, 1995, this matter was

7 | referred to the magistrate judge for nomination of a special

18 | master. On November 16, 1995, the magistrate judge issued findings

and recommendations nominating J. Michael Keating, Jr. to serve as

20] special master in this case. The findings and recommendations were

2111 served on all parties and contained notice that any objections to

22 || the findings and recommendations were to be filed within ten

(10)

23 days. Neither party has filed objections to the findings and

24 || recommendations.
25
26 1/ On December 1, 1995, defendants filed objections to separate

: br]
AO 72 *
(Rev.8/82)

findings and recommendations regarding the order of reference.
those objections, defendants specifically state that they do not

In

AO 72
(Rev.8/82)

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In accordance with the provisions of 28 U.S.C.
§ 636(b) (1) (C) and Local Rule 305, this court has conducted a de
novo review of this case. Good cause appearing, IT IS HEREBY
ORDERED that:

1. The Findings and Recommendations filed November 16,
1995 are adopted in full; and

2. od. Michael Keating, Jr. is appointed to serve as
special master in this case.

DATED: December i} , 1995.

NM\CEe |
UNITED STATES DISTRIC

object to the November 16, 1995 Findings and Recommendations regarding
appointment of the special master. (Defendants’ Objections to
Findings and Recommendations re: Order of Reference, filed December
1, 1995, at 3.)

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United States District Court

for the
Bastern District of California

e “o
December 12, 1995
* * CERTIFICATE OF SERVICE * *
2:90-cv-00520
Coleman
Vv.
Reagan

I, the undersigned, hereby certify that I am an employee in the Office of
the Clerk, U.S. District Court, Eastern District of California.

That on December 12, 1995, I SERVED a true and correct copy(ies) of

the attached, by placing said copy(ies) in a postage paid envelope

addressed to the person(s) hereinafter listed, by depositing said

envelope in the U.S. Mail, or by placing said copy(ies) into an inter-office
delivery receptacle located in the Clerk's office.

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1D

BY:

Deputy Clerk
